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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 SYMBOLOGY INNOVATIONS, LLC,                      §
                                                  §
                   Plaintiff,                     §
                                                  §
 v.                                               §       Civil Action No. 3:23-CV-1755-L
                                                  §
 YVES SAINT LAURENT AMERICA,                      §
 INC.,                                            §
                                                  §
                    Defendant.                    §

                                STANDING ORDER OF REFERENCE

        This case is hereby referred to United States Magistrate Judge David Horan for pretrial

management. All nondispositive motions, pending or prospective, are referred to the magistrate

judge for determination. All dispositive motions, pending or prospective, are referred to the

magistrate judge for findings of fact and recommendations. All other pretrial matters, including

scheduling and alternative dispute resolution, are referred to the magistrate judge for appropriate

action consistent with applicable law. Magistrate Judge Horan is to notify the court when the case

is ready for a trial setting.

        Local Civil Rules 72.1 and 72.2 provide that, unless otherwise directed by the presiding

district judge, a party who files objections under Federal Rules of Civil Procedure 72(a) and (b)(2)

to magistrate judge orders regarding pretrial nondispositive matters, or findings and

recommendations on dispositive motions, may file a reply brief within 14 days from the date the

response to the objections or response brief is filed. The court does not allow parties to file a reply

brief with respect to magistrate judge orders or findings and recommendations, unless leave is




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granted to file the reply brief. The court will strike or disregard any reply brief filed in violation

of this order.

        It is so ordered this 8th day of December, 2023.


                                                      _________________________________
                                                      Sam A. Lindsay
                                                      United States District Judge




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